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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 WILLIAM MCGREEVY, ASHWIN
 GOWDA, TRANSLUNAR CRYPTO, LP,
 CHRISTOPHER BUTTENHAM, and
 ALEX SOPINKA, individually and on                No.
 behalf of all others similar situated,
                                                  CLASS ACTION COMPLAINT
                         Plaintiffs,
                                                  JURY TRIAL DEMANDED
                         v.

 DIGITAL CURRENCY GROUP, INC.,
 and BARRY SILBERT,

                         Defendants.

       Plaintiffs William McGreevy, Ashwin Gowda, Translunar Crypto LP, Christopher

Buttenham, and Alex Sopinka (collectively, “Plaintiffs”), individually and on behalf of all others

similarly situated, allege the following against Digital Currency Group, Inc. (“DCG”) and Barry

Silbert (“Silbert”) (collectively with DCG, “Defendants”), based on personal knowledge, the

investigation of counsel, and information and belief. Plaintiffs believe substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                        INTRODUCTION

       1.       Plaintiffs bring this action against Defendants DCG and Barry Silbert seeking

damages for their liability as Control Persons as provided for by the federal securities laws.

Plaintiffs are digital asset lenders who engaged in digital asset lending transactions with

Defendant-controlled subsidiary company Genesis Global Capital, Inc. (“Genesis Global

Capital”) from February 2, 2021 through November 16, 2022 (the “Class Period”).

       2.       As a result of the violations of the federal securities laws described herein,

Plaintiffs and members of the Classes have been denied access to their digital assets since
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November 16, 2022 and face little prospect of recovering a meaningful amount of the digital

assets they lent to Genesis Global Capital.

       3.       Defendant DCG is the parent entity of a conglomerate of subsidiaries which

includes Genesis Global Capital. At all times alleged herein DCG was the 100% owner of

Genesis Global Capital.

       4.       Defendant Barry Silbert is the founder of DCG, Genesis Global Capital, and

several other DCG subsidiary companies. Silbert is the controlling shareholder of DCG (owning

40%), chief executive officer of DCG, and chairman of DCG’s board of directors.

       5.       During the Class Period, Genesis Global Capital ran a borrow/lend business for

the DCG conglomerate, attracting capital from digital asset owners by offering high rates of

return via interest on the lending transactions.

       6.       Genesis Global Capital executed lending transactions with its customers such as

Plaintiffs via agreements sometimes styled “Master Digital Asset Loan Agreement(s)” (the

“MDAL Agreement”) and other times called “Master Borrow Agreement(s)” (collectively, the

“Lending Agreements”) whereby lenders such as Plaintiffs provided digital assets to Genesis

Global Capital in exchange for interest payments and the eventual return of the digital assets.

       7.       Genesis Global Capital pooled the digital assets it received pursuant to the

Lending Agreements and, at the direction of DCG and Barry Silbert, deployed the digital assets

pursuant to certain strategies designed to generate revenue for the DCG conglomerate and Silbert

and to pay lenders interest.

       8.       Genesis Global Capital, subject to the direction and control of DCG and Silbert,

did not register the Lending Agreements with the U.S. Securities & Exchange Commission.




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        9.       Because the Lending Agreements meet the definition of investment contracts and

notes under the federal securities laws, as offered and sold, the Lending Agreements constituted

offers and sales of securities under the federal securities laws, including the Securities Act of

1933 (the “Securities Act”), 15 U.S.C. §§ 77e, 77l(a)(1), 77o.

        10.      Because no applicable exemption from registration applied, Genesis Global

Capital’s failure to register its securities offerings violated the federal securities laws, including

Section 5 of the Securities Act.

        11.      Independent of the federal securities laws’ registration requirements, the federal

securities laws prohibit parties from defrauding or deceiving, including through

misrepresentation of material information, someone in connection with the purchase or sale of

security.

        12.      During the Class Period DCG and Silbert deployed the digital assets Genesis

Global Capital received from lenders in ways designed to line DCG’s and Silbert’s own pockets.

        13.      For example, DCG and Silbert directed Genesis Global Capital to use lenders’

digital assets to engage in transactions designed to benefit the DCG conglomerate, including the

purchase of GBTC, a publicly traded security managed by DCG and Silbert’s Grayscale

Investments subsidiary, to maximize the management fees collectable by the DCG conglomerate.

        14.      DCG and Silbert also caused Genesis Global Capital to take on an unreasonable

amount of counterparty concentration risk by lending almost 30% of Genesis Global Capital’s

total loan book to a single party: digital asset hedge fund Three Arrows Capital. This too was

designed to benefit the DCG conglomerate by maximizing the management fees earned for

managing GBTC.




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       15.     Predictably, these practices had disastrous results. Three Arrows Capital declared

bankruptcy in June 2022, and after Three Arrows Capital liquidated its assets Genesis Global

Capital was left with an uncollectable $1.1 billion debt, an impairment in value which Genesis

Global Capital should have immediately recognized on its balance sheet regularly distributed to

lenders such as Plaintiffs, members of the Classes, and their agents.

       16.     Recognition of the impairment, however, would have meant Genesis Global

Capital recognizing its own insolvency, which would have terminated all Lending Agreements

and entitled lenders such as Plaintiffs and members of the Classes to the return of their digital

assets. It also would have meant the end of the Genesis Global Capital’s business and DCG’s

source of capital.

       17.     Instead of recognizing the impairment, DCG and Barry Silbert directed and

caused Genesis Global Capital to engage in a misleading sham transaction without any economic

reality, designed to conceal its insolvency. At DCG and Silbert’s direction, Genesis Global

Capital proceeded to “sell” the uncollectable $1.1 billion Three Arrows Capital debt to DCG in

exchange for a 10-year promissory note (the “DCG Promissory Note”) with an interest rate of

1% per year due in 2032. Importantly, no cash, cash equivalents, or any assets meeting the

definition of a current asset changed hands in this transaction, which meant that Genesis Global

Capital received zero capitalization from DCG. Instead, Genesis Global Capital magically erased

the bad debt from its books and replaced it with a “good” debt.

       18.     Genesis Global Capital proceeded to misleadingly include the $1.1 billion amount

of the DCG Promissory Note on its balance sheet as a current asset and/or receivable, which

falsely portrayed Genesis Global Capital as solvent when, in fact, it was insolvent.




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       19.     Genesis Global Capital circulated balance sheets and other documents containing

misrepresentations as to its solvency to Plaintiffs, members of the Classes, and their agent in

order to induce the parties to continue to loan Genesis Global Capital digital assets and/or to

prevent them from requesting redemptions of their loans.

       20.     Importantly, Genesis Global Capital represented in every lending transaction it

executed from July 1, 2022 forward that it was in fact solvent, when it was not.

       21.     These misrepresentations and omissions concerning the Genesis Global Capital-

DCG transaction and Genesis Global Capital’s solvency violated of Section 10(b) of the

Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and SEC Rule 10b-5, codified at 17 CFR

240.10b-5, which prohibit defrauding or deceiving, including through misrepresentation of

material information, someone in connection with the purchase or sale of security.

       22.     The misrepresentations and omissions were material, as no reasonable lender

would have loaned digital assets to Genesis Global Capital had they known of Genesis Global

Capital’s true financial condition or the details of the $1.1 billion DCG Promissory Note.

       23.     Plaintiffs, members of the Classes, and their agents reasonably relied on Genesis

Global Capital’s misrepresentations and omissions as to Genesis Global Capital’s solvency in

deciding to lend digital assets to Genesis Global Capital or to rollover existing loans with

Genesis Global Capital into new terms.

       24.     Thus, as a result of the misrepresentations and omissions, Genesis Global Capital

received billions of dollars in new loans and loan roll-overs from Plaintiffs and members of the

Classes Genesis Global Capital otherwise would not have.

       25.     These misrepresentations and omissions came to light after Genesis Global

Capital experienced a slew of withdrawal requests in November 2022 in the wake of the collapse



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of digital asset trading platform FTX due to a general loss of confidence in the digital asset

markets. This “bank run” combined with Genesis Global Capital’s true financial condition meant

that Genesis Global Capital did not have the assets to honor redemption requests.

       26.      On November 16, 2022, Genesis Global Capital unilaterally stopped honoring

redemption requests, meaning no lender could obtain their digital assets from Genesis Global

Capital. Even then, Genesis Global Capital continued to misrepresent its financial condition,

calling the cause of its inability to honor redemptions a result of a “liquidity and duration

mismatch” when in reality it was because of insolvency.

       27.      On January 19, 2022, Genesis Global Capital, LLC and two affiliated entities

filed for Chapter 11 Bankruptcy protection in the United States Bankruptcy Court for the

Southern District of New York.

       28.      As a result of the conduct described herein, Plaintiffs and members of the Classes

defined below have suffered significant harm and are owed billions of dollars.

       29.      Plaintiffs seek relief, on behalf of themselves and the proposed Classes, for the

injuries they have sustained as a result of Defendants’ unlawful sale of unregistered securities, in

violation of Section 5 and 12(a)(1) of the Securities Act, and fraud in connection with the sale or

purchase of securities, in violation of Section 10(b) of the 1934 Exchange Act and Rule 10b-5

promulgated thereunder pursuant to Section 15 of the Securities Act and Section 20(a) of the

Exchange Act.

                                             PARTIES

       30.      Plaintiff William McGreevy (“Plaintiff McGreevy”) is a resident of Kansas.

Plaintiff McGreevy made several loans to Genesis Global Capital during the Class Period via the




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Gemini Earn Program. A true and correct copy accounting of Plaintiff McGreevy’s digital asset

held by Genesis Global Capital is annexed hereto as Exhibit A.

       31.     Plaintiff Ashwin Gowda (“Plaintiff Gowda”) is a resident of Texas. Plaintiff

Gowda made several loans to Genesis Global Capital during the Class Period via the Gemini

Earn Program. A true and correct copy of all of Plaintiff Gowda’s Genesis Global Capital

lending transactions is annexed hereto as Exhibit B.

       32.     Plaintiff Translunar Crypto LP (“Plaintiff Translunar”) is a limited partnership

organized and existing under the laws of the State of Delaware and resident of the State of Texas.

Plaintiff Translunar made several loans to Genesis Global Capital during the Class Period via the

Genesis Institutional Lending Program. A true and correct account of all of Plaintiff Translunar’s

Genesis Global Capital lending transactions is annexed hereto as Exhibit C.

       33.     Plaintiff Christopher Buttenham (“Plaintiff Buttenham”) is a resident of Nevada.

Plaintiff Buttenham made several loans to Genesis Global Capital during the Class Period via the

Gemini Earn Program. A true and correct copy of all of Plaintiff Buttenham’s Genesis Global

Capital lending transactions is annexed hereto as Exhibit D.

       34.     Plaintiff Alex Sopinka (“Plaintiff Sopinka) is a resident of Nevada. Plaintiff

Sopinka made several loans to Genesis Global Capital during the Class Period via the Gemini

Earn Program. A true and correct copy of all Plaintiff Sopinka’s Genesis Global Capital lending

transactions is annexed hereto as Exhibit E.

       35.     Defendant Digital Currency Group, Inc. (“DCG”) is a corporation formed and

existing under and pursuant to the laws of Delaware. DCG maintains its principal place of

business in Stamford, Connecticut. Prior to moving to Stamford, Connecticut, DCG maintained

its principal place of business in New York, New York.



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         36.   Defendant Barry Silbert (“Silbert”) is the founder and chief executive officer

(“CEO”) of DCG. Upon information and belief, he is a resident of Connecticut. Silbert has been

reported to own 40% of the equity of DCG. Silbert has consistent and daily management

responsibilities for DCG’s and DCG’s subsidiaries’ operations, including Genesis Trading,

Genesis Global Capital, and Grayscale Investments. For example, it has been reported that

Silbert prefers focusing on the capital allocation activities of DCG and its subsidiaries. Silbert’s

activities and responsibilities include making the decision not to register Genesis Global

Capital’s issuance of notes and investment contracts with the SEC, and engaging in the

transaction which led to the issuance of the DCG Promissory Note discussed below. Silbert has

repeatedly and publicly discussed his role in DCG and oversight of this subsidiaries.

                                 JURISDICTION AND VENUE

         37.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332(d)(2)(A), because this case is a class action where the aggregate claims of all members of

the proposed Classes exceed $5,000,000.00, exclusive of interest and costs, and the Plaintiffs and

most members of the proposed Classes are citizens of a state different from Defendant.

         38.   Jurisdiction of this Court is further founded upon 28 U.S.C. § 1331 because the

this complaint asserts claims under Sections 5 and 12(a)(1) of the Securities Act of 1933 (the

“Securities Act”), 15 U.S.C. §§ 77e, 77l(a)(1), 77o.

         39.   Jurisdiction of this Court is also founded upon Section 27 of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78aa(a), which provides that federal

courts have exclusive jurisdiction over violations of the Exchange Act, including Sections 10 and

20(a).




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        40.      Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b) and (c)

and 18 U.S.C. §1965, because Defendants transact business in, are found in, and/or have agents

in this District, and because some of the actions giving rise to this complaint took place in this

District.

        41.      The Court has personal jurisdiction over Defendants. Defendants transacted

business, maintained substantial contacts, and/or committed overt acts in furtherance of the

illegal scheme and conspiracy throughout the United States, including in this District. The

scheme and conspiracy have been directed at, and have had the intended effect of, causing injury

to persons residing in, located in, or doing business throughout the United States, including in

this District.

        42.      The Court also has personal jurisdiction over Defendants under the nationwide

service of process provisions of Section 22 of the Securities Act, 15 U.S.C. § 77v.

                                   FACTUAL BACKGROUND

I.      DIGITAL CURRENCY GROUP

        43.      Digital Currency Group was founded by Defendant Barry Silbert in 2015 with

two specific purposes: (1) to operate and control two companies which Silbert had already

created and was actively operating: Genesis Global Trading and Grayscale Investments; and (2)

to make venture capital investments in digital asset and blockchain companies.1

        44.      Today, DCG is the parent company of a conglomerate of digital asset and

blockchain technology companies and DCG’s venture capital arm has invested in a number of

companies in the digital asset and blockchain space. DCG describes itself as follows:



1
  https://techcrunch.com/2015/10/27/barry-silbert-launches-digital-currency-group-with-funding-
from-mastercard-others/ (accessed Jan. 21, 2023).

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         Founded in 2015 by CEO Barry Silbert, DCG is the most active investor in the
         blockchain sector, with a mission to accelerate the development of a better financial
         system through the proliferation of digital assets and blockchain technology. Today,
         DCG sits at the epicenter of the industry, backing more than 175 blockchain-related
         companies in over 35 countries. DCG also invests directly in digital currencies and other
         digital assets. In addition to its investment portfolio, DCG is the parent company of
         Genesis (a global digital asset prime brokerage), Grayscale Investments (the largest
         digital currency asset manager), CoinDesk (a leading financial media, data, and
         information company), Foundry (a leader in bitcoin mining and staking) and Luno (a
         leading cryptocurrency platform with a large international footprint).

         45.     In addition to its wholly-owned subsidiaries, DCG holds stakes in a portfolio that

includes some of the most well-known and successful companies in the space including some of

the more prominent exchanges such as Genesis Global Capital and Kraken.

         46.     In 2021, at Barry Silbert’s direction DCG announced it was moving its principal

place of business to Stamford, Connecticut. The move was completed in early 2022.

         47.     A 2021 financing round valued DCG at more than $10 billion.

   II.         BARRY SILBERT

         48.     Barry Silbert is the founder, CEO, and Chairman of the board of directors of

DCG.

         49.     Barry Silbert owns approximately 40% of DCG and at all relevant times

controlled the day-to-day activities of DCG and its wholly-owned subsidiaries Grayscale,

Genesis Global Capital, and Genesis Global Trading, including the capital allocation strategies

employed by these entities.

         50.     Until 2021, Barry Silbert was CEO of DCG’s wholly-owned subsidiary business

Grayscale and served as Chairman of Grayscale’s board of directors.

         51.     As just one example of his total control of DCG and its subsidiaries, in or around

2020, Silbert decided to move DCG and many of its subsidiary businesses, including Grayscale,

from New York, New York to Stamford, Connecticut, where Silbert lived.


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       52.     In April 2022, Forbes estimated Silbert’s net worth at $3.2 billion, up front 2021’s

estimate of $1.6 billion.

III.   GRAYSCALE INVESTMENTS, LLC

       53.     Grayscale Investments, LLC (“Grayscale”) is a subsidiary of DCG and is a digital

asset management company that offers investment products that provide exposure to the price

movement of various digital currencies. Grayscale’s most popular investment product is the

Grayscale Bitcoin Trust, or “GBTC.”

       54.     In 2022, at Silbert’s direction, Grayscale moved its principal place of business to

Stamford, Connecticut.

       55.     GBTC is a publicly traded investment vehicle managed by Grayscale that

provides exposure to bitcoin’s price movements without the need to directly buy and hold the

digital currency.

       56.     GBTC is traded on OTCQX, a market for over-the-counter securities.

       57.     GBTC shares can be acquired in two ways: (1) anyone with a brokerage account

can buy GBTC shares in the over-the-counter securities markets; and (2) investors can subscribe

to the underlying trust (the “Trust”).

       58.     Subscribing to the Trust requires a minimum investment of $50,000 and is

available only to accredited investors.

       59.     Trust subscribers receive GBTC shares representing the value of Bitcoin held in

the Trust equal to the amount invested by the subscriber.

       60.     GBTC shares issued via subscriptions are subject to a six-month lockup period

during which subscribers cannot sell their shares.

       61.     GTBC subscribers are free to sell their GBTC shares once the lockup period ends.



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       62.      Until February 2021, GBTC shares traded at a premium or in excess of the net

value of the assets held by GBTC (the “Net Asset Value” or “NAV”). For example, on

December 22, 2020, GBTC was trading at a 38.57% premium to its NAV.

       63.      The premium was attributed to the fact that GBTC was the only way for

institutional investors to get regulator-approved access to Bitcoin’s price movements, which

caused demand to exceed supply.

       64.      Traders sought to exploit the existence of the premium by subscribing to the Trust

and selling their GBTC shares at a premium once the six-month lockup period expired (in what

came to be known as the “Grayscale Trade”).

       65.      GBTC stopped trading at a premium to NAV in February 2021 and flipped to a

discount. 2

       66.      Since February 2021, the discount of GBTC shares to GBTC’s NAV continued to

increase:

                   a. On November 30, 2021, GBTC shares were trading at a 12.05% discount

                       to GBTC’s NAV.

                   b. On January 31, 2022, GBTC shares were trading at a 25.11% discount to

                       GBTC’s NAV.

                   c. On June 1, 2022, GBTC shares were trading at a 29.97% discount to the

                       GBTC’s NAV.

                   d. On November 1, GBTC shares were trading at a 35.76% discount to the

                       GBTC’s NAV.



2
 As of January December 23, 2022, GBTC shares traded at a discount of 45.74% to the trust’s
NAV.

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                  e. On November 16, GBTC shares were trading at a 39.29% discount to the

                      GBTC’s NAV.

                  f. On January 20, 2023, GBTC shares were trading at a 40.05% discount to

                      GBTC’s NAV.

       67.    Grayscale charges a 2% annual management to manage GBTC, meaning that

Grayscale, DCG, and Silbert earn hundreds of millions of dollars annually and have an incentive

to maximize the AUM of Grayscale.

       68.    On December 31, 2021, Grayscale published a chart on Twitter of Grayscale’s

AUM of $43.6 billion in and showing GBTC’s AUM as $30.417 billion.

IV.    GENESIS GLOBAL TRADING, INC.

       69.    Genesis Global Trading, Inc. (“Genesis Trading”) was formed in 2005 and was

initially operated by Barry Silbert as the bitcoin trading arm of Silbert’s company SecondMarket,

which Silbert launched in 2004 as a private marketplace where accredited investors could buy

and sell shares of private companies. Silbert served as CEO of SecondMarket until selling

SecondMarket to Nasdaq in 2015.

       70.    Silbert spun Genesis Trading out of SecondMarket prior to selling SecondMarket

to Nasdaq and relaunched Genesis Trading as a standalone broker-dealer specializing in digital

currencies on Thursday, April 16, 2015, over six months before Silbert announced the formation

of DCG.

       71.    In October 2015, in conjunction with the formation of DCG, Silbert caused

Genesis Trading to become a wholly-owned subsidiary of DCG with Silbert serving as DCG’s

CEO, Chairman, and controlling shareholder, thus controlling Genesis Trading.




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       72.     Genesis Trading operated as a New York-based non-custodial, over the counter

(“OTC”) market-maker in digital assets and brokerage, holding a virtual currency BitLicense

with NY DFS, and registered as a broker-dealer with the Securities and Exchange Commission

(“SEC”) and FINRA.

       73.     In late 2017, Silbert and DCG organized Genesis Global Capital, LLC (“Genesis

Global Capital”) under the laws of the State of Delaware to house the growing digital asset

lending business of the DCG conglomerate Genesis Trading had been operating for Silbert and

DCG.

       74.     In April 2018, Silbert and DCG caused Genesis Trading to reassign all existing

digital asset loan agreements to Genesis Global Capital.

V.     GENESIS GLOBAL CAPITAL, LLC

       75.     From April 2018, Genesis Global Capital operated as the digital asset borrowing

and lending desk for the Silbert and the DCG conglomerate, using high interest rates to attract

lenders.

       76.     Genesis Global Capital primarily borrowed digital assets via two programs: (1)

directly from lenders via Genesis Global Capital’s “Institutional Lending and Borrowing

Business” (the “Genesis Institutional Lending Program”) who were able to meet the minimum

loan requirements; and (2) via the Gemini Earn program (the “Gemini Earn Program”)

established by the company Gemini Trust Company, LLC (“Gemini”), which had no minimum

loan requirement (collectively, the Genesis Institutional Lending Program and the Gemini Earn

program are referred to as the “Lending Program(s)”).

       77.     In theory, Genesis Global Capital’s lending business model was simple: it

borrowed digital assets from parties in exchange for promises to pay the lenders interest and then



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deployed those digital assets in ways which sought to earn returns that exceeded the interest

Genesis Global Capital had committed to paying its lenders.

        78.    Genesis Global Capital typically loaned digital assets to third parties who

believed they would earn outsized returns with those funds via their own proprietary investment

strategies such as digital asset hedge funds such as the now-infamous digital asset hedge funds

Alameda Research, LLC, and Three Arrows Capital.

        79.    However, because lending demand (desire to earn a yield from one’s own assets)

commonly exceeds borrowing demand (desire to pay for use of someone else’s assets),

businesses like Genesis Global Capital cannot typically deliver on promises of high yields by

simply re-lending funds to third parties at higher rates and capturing the “net interest margin” or

spread between Genesis Global Capital’s borrowing costs and lending rates.

        80.    To bridge the revenue gap that the difference in lending and borrowing demand

creates typically means businesses like Genesis Global Capital must engage in risky, proprietary

strategies.

        81.    At all times relevant herein, Barry Silbert, founder and controlling shareholder of

Genesis Global Capital parent DCG, had authority to, and did, exercise control of the operations

of Genesis Global Capital.

        A.     GENESIS GLOBAL CAPITAL’S INSTITUTIONAL LENDING
               PROGRAM.

        82.    Genesis Global Capital’s Institutional Lending Program required participants such

as Plaintiff Translunar to make minimum loan amounts which varied according to the type of

asset being lent.

        83.    Genesis Global Capital represented the minimums as follows on its website: 100

BTC, 1,000 ETH, $2 million U.S. Dollars, and $1 million of certain alternative digital assets.


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       84.     Institutional Lending Program transactions were executed pursuant to a document

named the Master Borrow Agreement. The Master Borrow Agreement set forth the terms of the

loan, including the types of occurrences that constituted events of default and what could cause

termination of the agreement and required parties to make certain representations and warranties

regarding the parties’ financial condition (e.g., that neither party is insolvent), and more.

       85.     Genesis Global Capital made the following representations to lenders in every

Master Borrowing Agreement:

       Each Party represents and warrants that it is not insolvent and is not subject to any
       bankruptcy or insolvency proceedings under any applicable laws

       Each Party represents and warrants there are no proceedings pending or, to its
       knowledge, threatened, which could reasonably be anticipated to have any adverse effect
       on the transactions contemplated by this Agreement or the accuracy of the representations
       and warranties hereunder or thereunder.

       86.     Genesis Global Capital did not require lenders who loaned Genesis Global Capital

digital assets via the Institutional Lending Program to establish that they were accredited

investors via representation, warrantee, self-certification or other methodology in order to

participate in the Institutional Lending Program. If a lender could meet the minimums, they were

permitted to participate.

       B.      THE GEMINI EARN PROGRAM

       87.     Genesis Global Capital also attracted capital via a program named Gemini Earn

established by the Gemini Trust Company, LLC (“Gemini”), a company that offers a range of

digital asset services via the Gemini platform.

       88.     Gemini Earn was launched on February 2, 2021, and was promoted as allowing

Gemini digital asset trading platform customers to “transfer existing crypto holdings, or easily

purchase crypto to transfer into Gemini Earn and earn interest for any period of time. They can



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also redeem their crypto at any time. As a New York-based Trust company with security

protocols on par with those offered by top financial institutions, Gemini's secure custody and

exchange solutions also integrate seamlessly with Gemini Earn.”

        89.    The Gemini Earn Program promised Gemini Earn participants the hallmarks of a

traditional bank savings or checking account: interest on deposits that are freely withdrawable.

        90.    However, unlike owners of traditional bank accounts who received insurance

protection for their deposits via the Federal Deposit Insurance Corporation, Gemini Earn

customers receive no insurance protection for their digital assets (despite Gemini’s misleading

references to FDIC insurance); and unlike banks, which face extensive restrictions on what

customers deposits can be used for, there was no limitation on the borrowers’ use of Gemini

Earn customers’ digital assets.

        91.    Notably, there was no minimum lending amount required for Gemini users to

participate in the Gemini Earn Program and Genesis Global Capital did not require Gemini Earn

Program participants to establish that they were accredited investors via representation, warrant,

self-certification or other methodology in order to participate in the Gemini Earn Program.

        92.    Gemini Earn Program transactions were executed pursuant to a document named

the Master Digital Asset Loan Agreement. The Master Digital Asset Loan Agreement set forth

the terms of the loan, including the types of occurrences that constituted events of default, what

could cause termination of the agreement, and required parties to make certain representations

and warranties regarding the parties’ financial condition (e.g., that neither party is insolvent), and

more.

        93.    Genesis Global Capital made the following representations to lenders in every

Master Digital Asset Loan Agreement Genesis Global Capital executed:



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       Each Party represents and warrants that it is not insolvent and is not subject to any
       bankruptcy or insolvency proceedings under any applicable laws

       Each Party represents and warrants there are no proceedings pending or, to its
       knowledge, threatened, which could reasonably be anticipated to have any adverse effect
       on the transactions contemplated by this Agreement or the accuracy of the representations
       and warranties hereunder or thereunder.

       94.     While the Gemini Earn program was “dressed up” as a high-interest digital asset

bank account, it was actually a scheme designed by DCG, Silbert, and Genesis Global Capital to

attract retail investment in securities without complying with the federal securities laws.

                               SUBSTANTIVE ALLEGATIONS

I.     GENESIS GLOBAL CAPITAL’S LENDING PROGRAMS CONSTITUTED AN
       OFFER AND SALE OF SECURITIES UNDER HOWEY AND REVES.

       95.     Analysis of the facts and circumstances surrounding the offer and execution of the

Lending Programs pursuant to the Lending Agreements by Genesis Global Capital shows that:

(1) under the test set forth in S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946), the Lending

Agreements qualify as “investment contracts”; and (2) the Lending Agreements qualify as

“notes” under Reves v. Ernst & Young, 494 U.S. 56, 64–69 (1990).

       96.     The Securities Act defines "security" to encompass a wide range of investment

vehicles, including "investment contracts" and "notes." See 15 U.S.C. §§ 77b, 78c.

       97.     Under Howey, an “investment contract” is (1) an investment of money; (2) in a

common enterprise; (3) with a reasonable expectation of profits; (4) derived from the

entrepreneurial or managerial efforts of others. Congress defined “security” broadly to embody a

“flexible rather than a static principle, one that is capable of adaptation to meet the promise of

profits.” S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946).

       98.     This broad definition of “security” is “sufficient to encompass virtually any

instrument that might be sold as an investment,” because “Congress’ purpose in enacting the


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securities laws was to regulate investments, in whatever form they are made and by whatever

name they are called.” SEC v. Edwards, 540 U.S. 389, 393 (2004).

       99.     Courts have found that novel or unique investment vehicles constitute investment

contracts, including interests in orange groves, animal breeding programs, railroads, mobile

phones, and enterprises that exist only on the internet, including digital assets.

       100.    Therefore, under the definition of the Securities Act and the test articulated in

Howey, the Lending Agreements as offered by Genesis Global Capital were securities subject to

the federal securities laws.

       A.      THE NOTES ARE SECURITIES UNDER REVES.

       101.    A note is a type of debt security that, as done in the Lending Agreements,

represents a promise to pay a specific amount of a money at a specified time or on demand.

       102.    Under Reves, a note is presumed to be security unless it bears a strong

resemblance to instruments that are not securities. In Reves, the Court examined the following

four factors to determine whether a note is a security:

               (1) the motivations that would prompt a reasonable seller and buyer to enter into
               the transaction;
               (2) the plan of distribution of the instrument;
               (3) the reasonable expectations of the investing public; and
               (4) whether other factors, such as the existence of another regulatory scheme
               significantly reduces the risk of the instrument, thereby rendering application of
               the Securities Acts unnecessary. See Reves v. Ernst & Young, 494 U.S. 56, 64–69
               (1990).

       103.    Under the test articulated in Reves, the Lending Agreements were notes and

offered and sold by Genesis Global Capital as securities.




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              i.       MOTIVATIONS OF LENDING PROGRAM PARTICIPANTS

       104.     Genesis Global Capital created the Lending Programs to obtain digital asset

capital for DCG and third parties to deploy. Genesis Global Capital sought to generate enough

revenue to (1) return profits to Genesis Global Capital, DCG, and Barry Silbert; and (2) to pay

interest to Lending Program lenders.

       105.     Genesis Global Capital, at the direction and subject to the control of DCG and

Silbert, controlled the digital assets loaned to it by Lending Program participants had complete

discretion in determining how much to hold, lend and otherwise use. Genesis Global Capital

used the digital assets lent to it to make loans to third party borrowers or as collateral for Genesis

Global Capital to borrow funds itself to pursue investment strategies.

       106.     Lending Program lenders participated in the Lending Programs primarily for

profit. That is, Lending Program participants loaned digital assets to Genesis Global Capital

hoping to receive a return on their digital assets. Representations made by Genesis Global

Capital to Lending Program participants in the execution documents and elsewhere caused

Lending Program participants to loan Genesis Global Capital their digital assets with the

expectation of profits in the form of interest on those digital assets.

                ii.    DISTRIBUTION PLAN OF THE LENDING PROGRAMS

       107.     Gensis Global Capital publicly advertised the Lending Programs on its own

websites, third party websites and social media.

       108.     The Institutional Lending Program was offered and sold to, upon information and

belief, at least hundreds if not thousands of investors willing to meet the lending minimums

described above such as Plaintiff Translunar. Participation in the Institution Lending Program

was not contingent on qualification as an accredited investor and Genesis Global Capital did not



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seek to limit participation in the Institutional Lending Program to accredited investors at any

time.

        109.      The Gemini Earn Program was offered and sold to investors who signed up as

users of the Gemini digital asset program and opted to participated in the Gemini Earn program,

regardless of whether or not the user was an accredited investor or non-accredited investor. As of

November 16, 2022, there were approximately 340,000 Gemini Earn Program participants, the

majority of whom resided in the United States.

               iii.      EXPECTATIONS OF THE INVESTING PUBLIC

        110.      Genesis Global Capital promoted the Lending Programs to the general public as

an investment as a way to earn high “returns” or “yield” on Lending Program participants’

digital assets.

        111.      In conjunction with Gemini, the Gemini Earn program was repeatedly described

as an investment providing interest rates that were “among the highest rates on the market” and

“higher than most existing options.” Gemini’s website further claimed that Gemini Earn

investors could “receive more than 100x the national interest rate.”

        112.      The economic realities of the Lending Program transactions, in which participants

were provided with an opportunity to tender digital assets with to Genesis Global Capital in

exchange for earning interest with some of the “highest rates” available for digital assets, further

underscores why the investing public considered the Lending Programs to be an investment

opportunity.

                  iv.    NO RISK REDUCING FACTORS EXIST

        113.      No alternative regulatory scheme or risk-reducing factors existed to protect

investors with respect to the Lending Programs.



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           114.   For example, Genesis Global Capital stated that digital “are not covered by SIPC

insurance” and that “[e]stablishing a lending and borrowing relationship with Genesis is not the

same as opening a depository account or a savings account” and that “[a]ccounts with Genesis do

not enjoy FDIC protection.”

           115.   Similarly, NYSDFS did not have oversight over Genesis Global Capital, DCG, or

Silbert.

           116.   These statements, and facts, make it clear that alternative regulatory schemes

provided no protection for Lending Program participants.

           B.     THE LENDING AGREEMENTS ARE INVESTMENT CONTRACTS
                  UNDER HOWEY.

           117.   Genesis Global Capital’s offer and sale of the Lending Agreements constitutes the

offer and sale of investment contracts under Howey.

           118.   Digital assets qualify as “money” under the federal securities laws.

           119.   The Lending Programs therefore involved an investment of money. Genesis

Global Capital raised billions of dollars from hundreds of thousands of Lending Program

participants, including Institutional Lending Program and Gemini Earn Program participants.

           120.   Lending Program participants invested in a common enterprise with other

investors. Lending Program participants’ digital assets were pooled together by Genesis Global

Capital and were not segregated in any way.

           121.   Genesis Global Capital then deployed the pooled digital assets in ways designed

to generate returns for DCG, Silber, Genesis Global Capital, and Lending Program participants.

           122.   Because Lending Program participants assets and the returns earned by Gensis

Global Capital were not segregated in any way, each Lending Program participants’ fortunes

were tied to the fortunes of other participants.


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        123.      Lending Program participants were also tied to Genesis Global Capital. Lending

Program participants earned profits when Genesis Global Capital itself earned profits via the

deployment of Lending Program participants’ digital assets.

        124.      Similarly, Genesis Global Capital’s suffering of losses and entering bankruptcy

has harmed Plaintiffs and members of the Classes by restricting their ability to access their

digital assets.

II.     GENESIS GLOBAL CAPITAL DID NOT REGISTER THE OFFER OR SALE OF
        THE LENDING AGREEMENTS AS REQUIRED.

        125.      As outlined above, Genesis Global Capital used interstate commerce to offer and

sell securities through the Lending Programs.

        126.      The federal securities laws require offers and sales of securities to be registered

with the U.S. Securities & Exchange Commission unless an exemption from registration applies

and to additionally require issuers to provide a slate of disclosures informing investors of the

risks of investing.

        127.      Specifically, Sections 5(a) and 5(c) of the Securities Act require that an issuer like

Genesis Global Capital register the offer or sale of securities, including notes and investment

contracts, with the SEC unless an exemption from registration applies.

        128.      Genesis Global Capital’s offers and sales of securities to non-accredited investors

did not qualify for any exemption from registration with the SEC.

        129.      Genesis Global Capital never had a registration statement filed or in effect with

the SEC.

        130.      Plaintiffs and members of the Classes were harmed by the failure to register the

offer and sale of these securities because Genesis Global Capital’s public disclosures contained

selective or no information about Genesis Global Capital’s financial history, audited financial


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statements, management discussion and analysis of financial condition and results of operations,

and ability to generate profits.

       131.     Lending Program participants had limited or inadequate information about

Genesis Global Capital’s operations, financial condition, liquidity, or other factors relevant in

considering whether to participate in the Lending Programs.

       132.     Plaintiffs and members of the Class lacked full and detailed information regarding

how Genesis Global Capital deploys their crypto assets, including its exposure to volatility in

crypto asset markets, the financial condition of Genesis Global Capital’s counterparties, and the

amount of collateral Genesis Global Capital obtained, if any, as part of its loans to Institutional

Borrowers.

       133.     Because of the above-described conduct Lending Program participants lacked

information about Genesis Global Capital that the SEC requires issuers to provide under the

Securities Act when they solicit public investment.

       134.     On January 12, 2023, the SEC filed an enforcement action (the “SEC

Enforcement Action”) against Genesis Global Capital and Gemini for engaging “in an

unregistered offer and sales of securities to U.S. retail investors, in violation of the federal

securities laws” via the offering of the Gemini Earn program. See SEC v. Genesis Global

Capital, LLC., Complaint, No. 23-cv-00287 (Jan. 12, 2023) (S.D.N.Y.).

       135.     In the SEC Enforcement Action, the SEC alleges that after Gemini Earn Program

participants entered into the tri-party Master Agreements with Genesis Global Capital and

Gemini, Genesis Global Capital “pooled the crypto assets from Gemini Earn investors with

assets from other investors. Genesis then deployed the crypto assets – primarily by lending the

crypto assets to institutional counterparties (“Institutional Borrowers”) – in order to generate



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revenue for its business, including the revenue necessary to pay interest to Gemini Earn

investors. Genesis earned revenue by lending the crypto assets at a higher rate than it paid to

Gemini Earn and other investors.”

       136.    The SEC alleges the conduct described in the preceding paragraph “were

securities that Genesis . . . offered and sold to the investing public … without registering the

offer and sale with the SEC as required by the federal securities laws.”

       137.    As a result, the SEC alleges, Gemini Earn Program participants such as Plaintiffs

lacked material information about the risks of their investment in the Gemini Earn Program and

have suffered significant harm as a result of Genesis Global Capital’s conduct, losing access to

approximately $900 million-worth of digital assets.

III.   GENESIS GLOBAL CAPITAL FRAUDULENTLY CONCEALED ITS
       INSOLVENCY IN VIOLATION OF SECTION 10(b) OF THE EXCHANGE ACT
       AND SEC RULE 10b-5.

       A.      DIGITAL ASSET MARKET TURMOIL WIPES OUT DIGITAL ASSET
               BORROWING AND LENDING BUSINESSES.

       138.    By 2021, the Grayscale Trade had become a cornerstone trade strategy of digital

asset markets and was relied upon by digital asset hedge funds as well as borrowing and lending

businesses to deliver the returns necessary to pay interest to lenders and returns to fund investors.

       139.    The downward GBTC price movement which started in 2021 and continued

throughout 2022 thus significantly stressed the financial health of these businesses as they

watched locked up GBTC shares depreciate.

       140.    One of the most prominent and prolific GBTC subscribers was the digital asset

hedge fund Three Arrows Capital (“3AC”), who at one point had over $10 billion AUM.

       141.    3AC, along with other prominent investors, continued subscribing to GBTC

hoping the GBTC discount would close.


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          142.   3AC was also one of the biggest borrowers of digital assets from Genesis Global

Capital.

          143.   In June 2022, facing margin calls from several lenders due to declining digital

asset prices, 3AC became unable to meet its liabilities.

          144.   On June 27, 2022, 3AC was ordered by a British Virgin Islands court to liquidate

its assets after defaulting on several debts and being sued by its creditors.

          145.   On July 1, 2022, 3AC filed for Chapter 15 bankruptcy protection in the United

States Bankruptcy Court for the Southern District of New York.

          146.   At the time 3AC filed for bankruptcy, it owed Genesis Global Capital

approximately $2.3 billion.

          147.   After liquidating its assets, 3AC’s outstanding debt to Genesis Global Capital

stood at $1.1 billion.

          148.   3AC’s insolvency roiled the digital asset market, causing a credit crunch which

negatively impacted digital asset lenders such as Genesis Global Capital and its competitors. The

result was a number of Genesis Global Capital’s competitor lending businesses becoming

insolvent and filing for bankruptcy protection or receiving emergency lines of credit.

          149.   On June 12, 2022, digital asset borrower and lender Celsius halted customer

withdrawals, citing “extreme market conditions.”

          150.   On June 22, 2022, digital asset borrower and lender BlockFi announced it would

receive a $250 million line of credit from FTX in order to bolster liquidity but denied liquidity

issues.

          151.   On July 1, 2022, BlockFi signed a revised deal with FTX giving FTX the right to

purchase BlockFi for up to $240 million and to provide BlockFi with a $400 million revolving



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credit facility. The revised terms were due to an increased risk that BlockFi would become

insolvent due to the 3AC liquidation and other market events.

        152.   On July 3, 2022, digital asset borrower and lender Voyager Digital announced it

was suspending deposits, withdrawals, and trading due in large part to a failure to collect on a

$650+ million loan made to 3AC.

        153.   On July 6, 2022, Voyager Digital filed for Chapter 11 bankruptcy in United States

Bankruptcy Court of the Southern District of New York.

        154.   On July 13, 2022, Celsius filed for Chapter 11 bankruptcy protection in the

United States Bankruptcy Court for the Southern District of New York. Celsius lost over $100

million on the Grayscale Trade as the premium flipped to a discount which then widened in

2022.

        155.   The unwinding of the Grayscale Premium and steepening discount placed

significant stress on the finances of DCG and Silbert. It decreased the attractiveness of GBTC as

an investment, which decreased the AUM and NAV of GBTC, thereby decreasing the

management fees DCG and Silbert stood to earn from managing GBTC.

        156.   The decreased value of GBTC also impacted DCG’s financing ability, as DCG

held and wanted to use GBTC as collateral in financing transactions.

        157.   To alleviate this pressure, DCG and Silbert forced Genesis Global Capital to

execute a sham, self-interested, intercompany loan transaction on commercially unreasonably

terms whereby Genesis Global Capital Genesis Global Capital loaned approximately $575

million to DCG for DCG to use in its own profit seeking endeavors.

        158.   DCG used the $575 million in part to purchase more GBTC shares, hoping that

GBTC shares would suddenly reverse their price trend and appreciate and used the rest to line



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Silbert’s pockets by executing share buybacks, cashing out DCG equity repurchases at opportune

times.

         159.   DCG could not have obtained financing on those terms at arm’s length from an

independent party.

         160.   The $575 million loan from Genesis Global Capital to DCG is due for repayment

in May 2023.

         161.   Unfortunately for investors, the GBTC discount continued widening, rather than

closing, causing investors holding locked-up GBTC shares to suffer large paper losses that,

because of the lock-up period, they were unable to mitigate and/or stop by selling their shares.

         B.     DCG, SILBERT, AND GENESIS GLOBAL CAPITAL FRADULENTLY
                CONCEALED GENESIS GLOBAL CAPITAL’S INSOLVENCY.

         162.   3AC’s bankruptcy filings revealed 3AC borrowed $2.36 billion from Genesis

Global Capital and that after 3AC’s collateral was liquidated, 3AC still owed Genesis Global

Capital at least $1.1 billion,

         163.   Because 3AC also owed other creditors billions of dollars, it was immediately

clear that Genesis Global Capital would not recover any amount close to the $1.1 billion

outstanding, which should have resulted in an immediate recognition of a substantial impairment

of the 3AC debt on Genesis Global Capital’s books.

         164.   The economic reality of Genesis Global Capital’s situation should have forced

Genesis Global Capital to declare itself insolvent and either seek recapitalization or restructuring.

         165.   Instead, Genesis Global Capital dubiously maintained that 3AC’s $1.1 billion debt

to Genesis Global Capital was still worth $1.1 billion.




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       166.    Genesis Global Capital then “sold” its rights under those loans to its parent

company, DCG, in exchange for a promissory note for $1.1 billion due in 10 years at an interest

rate of 1%.

       167.    The “sale” however, was a sham. There was no exchange of money and no

movement of capital. Moreover, this sale could never have occurred between two parties

negotiating at arm’s length for at least three reasons:

                   a. First, the 3AC debt was not worth $1.1 billion at the time, and is not worth
                      $1.1 billion now. The odds of Genesis Global Capital or DCG collecting
                      anything near the full value of the debt were and remain incredibly low,
                      and no party negotiating at arm’s length with Genesis Global Capital
                      would have valued the debt at $1.1 billion.

                   b. Second, even if the debt were worth $1.1 billion, the terms of payment
                      were simply not competitive with the financing terms DCG would have
                      received from a non-related party. No party other than a subsidiary
                      completely controlled by DCG and Barry Silbert would have “sold” a $1.1
                      billion debt for a 10-year promissory note at 1% interest.

                   c. Third, given the first two realities, there is simply no reasonable
                      possibility the resulting promissory note from DCG is worth anything
                      close to $1.1 billion. Given the duration of the note and the underlying
                      economic realities, the note would be heavily discounted by any third-
                      party valuing the promissory note.

       168.    This transaction was a sham because the loan was uncollectable, and the

economic reality was that Genesis Global Capital was insolvent at the time of the transaction

with its parent company DCG.

       169.    On July 6, 2022, Michael Moro, then-CEO of Genesis Global Capital CEO,

disseminated the following description of this transaction:

       “DCG has assumed certain liabilities of Genesis related to [Three Arrows Capital] to
       ensure we have the capital to operate and scale our business for the long-term.”

       170.    Moro’s description, however, was misleading because no steps were taken to

shore up the capitalization of Genesis Global Capital. The only way to fill the hole created by


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3AC’s collapse was to contribute to Genesis Global Capital some amount of money or assets to

make up for the fact that Genesis Global Capital would not be receiving the same from 3AC. But

as described above, no cash, capital, or assets changed hands from DCG to Genesis Global

Capital.


       171.    Genesis Global Capital also, at the direction of and/or subject to the control of

DCG and Silbert, disseminated misleading and false financial statements to prospective Lending

Program participants, directly and via their designated agent, Gemini.

       172.    For example, it has been reported that Genesis Global Capital employees

disseminated documents with misstatements relating to the above-described transactions, along

with misleading financial metrics which emphasized Genesis Global Capital’s access to capital

and misrepresented the value of the DCG promissory note in order to convince counterparties

that Genesis Global Capital would be able to continue to operate as usual.3

       173.    Specifically, and according to Gemini Earn Program participants’ agent Gemini,

on July 6, 2022, Genesis Global Capital disseminated a document entitled “Three Arrows Post-

Mortem,” which contained the following statement attempting to explain the 3AC transactions:

“Losses predominantly absorbed by and netted against DCG balance sheet, leaving Genesis with

adequate capitalization to continue [Business as Usual].”

       174.    The above statement concerning the “adequate capitalization to continue”

business as usual, upon information and belief, was false and was made by Genesis Global

Capital with the intent of misleading the agent of Gemini Earn Program participants because

Genesis Global Capital did not in fact have adequate capitalization to continue to operate.


3
 Picha et al. v. Gemini Trust Company, LLC, et al., No. 22-cv-10922-NRB, Answer ¶ 67-91
(Dkt No. 12) (Jan. 10, 2023)(hereinafter “Gemini Answer”).

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          175.      In the same communication, Genesis Global Capital allegedly distributed a

document titled “Gemini Risk Metric Request,” which contained a section called “Financial

Position per Asset” with the following table: 4




          176.      If provided as represented by Gemini Earn Program participants’ agent, this table

is a fraud, because it intentionally and knowingly lists the DCG promissory note as a current

asset despite the fact that Genesis Global Capital, Barry Silbert, and DCG knew the promissory

note did not meet the generally accepted definition of a “current asset.”

          177.      According to Gemini, acting in its role as agent for Gemini Earn Program

participants, on July 27, 2022 Gemini sent the following table with the depicted highlight:




                                                                                                 5




4
    Gemini Answer, at ¶ 76.
5
    Id., at ¶ 81.

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          178.      Gemini asked Genesis Global Capital “[d]o we know what’s included in the

$2.2bn other assets? Are they all crypto or a mix of crypto and non-crypto? Can you please shed

some light on this?”6

          179.      Genesis allegedly responded on July 28, 2022 with another misrepresentation,

stating that ‘“Other assets” is a real-time metric where we looked to replicate, digital currency

loans receivable on a real-time basis. This is comprised of a $500mm in alts, $500mm Grayscale

shares, $1.1bn in receivables from related parties.”7

          180.      According to Gemini, acting in its role as agent for Gemini Earn Program

participants, it also received a balance sheet from Genesis Global Capital on July 6, 2022

purporting to show Genesis Global Capital’s balance as of June 30, 2022 improperly

misrepresenting the $1.1 billion promissory note as a “Receivable from related parties” valued at

$1.137 billion despite the fact that, as discussed above, there is no way the promissory note was

worth anything close to that amount.

          181.      Genesis Global Capital distributed the same balance sheets to each Genesis

Institutional Lending Program participant and prospective participants, including Plaintiff

Translunar.

          182.      As presented, the balance sheet showed that Genesis Global Capital was only

solvent by a mere $92.5 million, meaning that if it recognized virtually any impairment to the

DCG promissory note’s value, it would be insolvent.8




6
    Id., at ¶ 82.
7
    Id., at ¶ 83.
8
    See id., at ¶ 87.

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       183.    As Genesis Global Capital mispresented its financial health to Plaintiffs, members

of the Classes, and their agents, Plaintiffs and members of the Classes made new digital asset

loans worth hundreds of millions of dollars to Genesis Global Capital and rolled over existing

open term loans worth that Plaintiffs and members of the Classes would not have otherwise

loaned or rolled over had they known Genesis Global Capital’s true financial conditions.

       184.    In executing each new transaction or rolling over open term loans, Genesis Global

Capital made the following representations to Plaintiffs and members of the Classes:

               [Genesis Global Capital] represents and warrants that it is not insolvent and is not
               subject to any bankruptcy or insolvency proceedings under any applicable laws.

               [Genesis Global Capital] represents and warrants there are no proceedings
               pending or, to its knowledge, threatened, which could reasonably be anticipated to
               have any adverse effect on the transactions contemplated by this Agreement or the
               accuracy of the representations and warranties hereunder or thereunder.

       185.    As described above, these representations and warranties were false in two

respects: (1) Genesis Global Capital was in reality insolvent and lying about it; and (2) the 3AC

bankruptcy proceedings had already had an adverse effect on the transactions entered into under

the Lending Agreements.

       186.    All of this was done to conceal the fact that Genesis Global Capital had

improperly and imprudently loaned billions of dollars to 3AC and that 3AC’s bankruptcy had

caused the value of Genesis Global Capital’s liabilities to the parties Genesis Global Capital had

borrowed from to exceeds its assets.

IV.    GENESIS GLOBAL CAPITAL SUSPENDS REDEMPTIONS AND
       MISREPRESENTS THE REASON.

       187.    It is possible that DCG, Barry Silbert, and Genesis Global Capital would have

gotten away with their misrepresentations, but, in November 2022, a loss of confidence in digital




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asset markets caused large numbers of Genesis Global Capital customers to request redemptions

(i.e., withdrawals) of their loans.

         188.   On November 16, 2022, Genesis Global Capital announced, via Twitter, that

Genesis Global Capital would not permit further redemptions or new loan originations due to

withdrawal requests exceeding Genesis Global Capital’s liquidity:

         "FTX events have created an unprecedented market, resulting in abnormal withdrawal
         requests, which have exceeded our current liquidity... In consultation with our
         professional financial advisors at counsel we have taken the difficult decision to
         temporarily suspend redemptions and the new loan origination in the lending business[.]"

         189.   The Nov. 16, 2022 announcement misleadingly blamed FTX for Genesis Global

Capital’s inability to honor customer redemptions instead of acknowledging that the blame lay

with the dubious transactions and accounting methods employed by Genesis Global Capital,

DCG, and Silbert.

         190.   In fact, Genesis Global Capital was unable to continue to process redemption

requests because Genesis Global Capital had become insolvent when it was unable to collect

$1.1 billion of the $2.3 billion loaned to 3AC and the loan to parent DCG continued to decline in

value.

         191.   Genesis Global Capital was not merely illiquid; it was insolvent. This fact was

confirmed when, on January 19, 2023, Genesis Global Holdco, LLC, Genesis Global Capital,

LLC, and Genesis Asia Pacific Pte. Ltd., filed voluntarily petitions under Chapter 11 of the U.S.

Bankruptcy Code in the Southern District of New York.

V.       DCG AND SILBERT ARE LIABLE FOR GENESIS GLOBALS CAPITAL’S
         VIOLATIONS OF FEDERAL SECURITIES LAWS AS CONTROL PERSONS.

         192.   As discussed above, Barry Silbert specifically formed DCG to operate and control

the business that eventually relaunched as Genesis Global Capital.



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        193.   Barry Silbert founded DCG, Genesis Global Trading, Genesis Global Capital, and

Grayscale.

        194.   At all relevant times, Barry Silbert maintained a 40% equity stake in DCG and

served as DCG’s CEO and Chairman of its Board of Directors.

        195.   Exemplary of Silbert’s control over DCG and its subsidiaries, Silbert has held

several other leadership positions at DCG’s wholly-owned subsidiaries. For example, until 2021,

Barry Silbert served as CEO of Grayscale and still serves as Chairman of Grayscale’s Board of

Directors.

        196.   By virtue of his positions and ownership interest, Barry Silbert is a control person

as contemplated by Section 20(a) of the Securities Exchange Act.

        197.   At all relevant times, DCG and Barry Silbert exercised actual power and control

over Genesis Global Capital, possessing the power to direct or cause the direction of

management and policies of DCG and Genesis Global Capital.

        198.   For example, DCG and Silbert caused, or failed to prevent Genesis Global

Capital’s unregistered securities issuances detailed herein despite the fact that Silbert and DCG

both could have prevented them.

        199.   Additionally, DCG and Barry Silbert directed and/or caused Genesis Global

Capital to enter into multiple intercompany transactions on commercially unreasonable terms

that were favorable to DCG and Silbert and meant to benefit DCG’s and Silbert’s financial

interests at the expense of Lending Program participants.

        200.   For example, DCG caused Genesis Global Capital to loan $575 million to DCG

on non-arm’s length terms to support the DCG conglomerate and Barry Silbert’s own economic

interests.



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       201.    Similarly, DCG and Barry Silbert caused Genesis Global Capital to assign the

3AC debt in exchange for a $1.1 billion 10-year promissory note with 1% interest, another non-

arm’s length transaction.

                                    CLASS ALLEGATIONS

       202.    Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(3).

       203.    Plaintiffs seek class certification on behalf of the following classes defined as

follows:

       UNREGISTERED SECURITIES OFFERING CLASS: All persons or entities
       who participated in the Lending Programs from inception to November 16, 2022
       (the “Unregistered Securities Offering”).

       SECURITIES FRAUD CLASS: All persons or entities who participated in the
       Lending Programs and had digital loans outstanding at Genesis Global Capital as
       of November 16, 2022 (the “Securities Fraud Class”).

       204.    Plaintiffs reserve the right to modify or refine the definitions of the Class or

Subclasses based upon discovery of new information and to accommodate any of the Court’s

manageability concerns.

       205.    Excluded from the Classes are: (a) any Judge or Magistrate Judge presiding over

this action and members of their staff, as well as members of their families; (b) Defendants and

Defendants’ predecessors, parents, successors, heirs, assigns, subsidiaries, and any entity in

which any Defendant or its parents have a controlling interest, as well as Defendants’ current or

former employees, agents, officers, and directors; (c) persons who properly execute and file a

timely request for exclusion from the Classes; (d) persons whose claims in this matter have been

finally adjudicated on the merits or otherwise released; (e) counsel for Plaintiffs and Defendants;

and (f) the legal representatives, successors, and assigns of any such excluded persons.



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       206.    Ascertainability. The proposed Classes are readily ascertainable because they are

defined using objective criteria so as to allow class members to determine if they are part of a

Classes. Further, the Classes can be readily identified through records maintained by Defendant.

       207.    Numerosity (Rule 23(a)(1)). The Classes are so numerous that joinder of

individual members herein is impracticable. The exact number of members of the Classes, as

herein identified and described, is not known, upon information and belief there are hundreds of

thousands of individuals and entities that participated in the Lending Programs.

       208.    Commonality (Rule 23(a)(2)). Common questions of fact and law exist for each

cause of action and predominate over questions affecting only individual Classes:

           a. Whether the Lending Agreements were notes;

           b. Whether the Lending Agreements were investment contracts;

           c. Whether Genesis Global Capital was required to register the Lending Agreement

               transactions as offerings and sales of securities;

           d. Whether an exemption from registration applied to Genesis Global Capital’s offer

               and sale of the Lending Agreements;

           e. Whether misstatements or omission made by Genesis Global Capital were

               material to the decision made by Plaintiffs and the Classes to purchase securities

               from Genesis Global Capital;

           f. Whether misstatements or omissions made by Genesis Global Capital were

               reasonably relied upon by Plaintiffs and members of the Classes;

           g. Whether Plaintiffs and members of the Classes suffered damages as a result of the

               misconduct alleged herein;

           h. Whether Genesis Global Capital misrepresented its financial condition;



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           i. Whether Genesis Global Capital violated federal and state law;

           j. Whether DCG violated federal securities laws;

           k. Whether Barry Silbert violated federal securities laws;

           l. Whether DCG is a control person as to Genesis Global capital as contemplated by

               the federal securities laws;

           m. Whether Barry Silbert is a control person as to Genesis Global capital as

               contemplated by the federal securities laws;

           n. Whether Plaintiffs and members of the Classes are entitled to declaratory and

               injunctive relief.

       209.    Typicality (Rule 23(a)(3)). Plaintiffs’ claims are typical of the claims of the other

members of the proposed Class and Subclasses. Plaintiffs and members of the Class and

Subclasses (as applicable) suffered injuries as a result of Genesis Global Capital’s wrongful

conduct that is uniform across the Class and Subclasses.

       210.    Adequacy (Rule 23(a)(4)). Plaintiffs have and will continue to fairly and

adequately represent and protect the interests of the Classes. Plaintiffs have retained counsel

competent and experienced in complex litigation and class actions. Plaintiffs have no interest that

is antagonistic to those of the Classes, and Defendants have no defenses unique to Plaintiffs.

Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf of the

members of the Classes, and they have the resources to do so. Neither Plaintiffs nor Plaintiffs’

counsel have any interest adverse to those of the other members of the Class and Subclasses.

       211.    Substantial Benefits. This class action is appropriate for certification because

class proceedings are superior to other available methods for the fair and efficient adjudication of

this controversy and joinder of all members of the Classes is impracticable. The prosecution of



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separate actions by individual members of the Classes would impose heavy burdens upon the

Courts and Defendants, would create a risk of inconsistent or varying adjudications of the

questions of law and fact common to members of the Classes, and would be dispositive of the

interests of the other members not parties to the individual adjudications or would substantially

impair or impede their ability to protect their interests. This proposed class action presents fewer

management difficulties than individual litigation, and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court. Classes

treatment will create economies of time, effort, and expense and promote uniform decision-

making.

       212.    Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(b)(3)

because the above common questions of law or fact predominate over any questions affecting

individual members of the Classes, and a class action is superior to other available methods for

the fair and efficient adjudication of this controversy.

       213.    Classes certification is also appropriate under Fed. R. Civ. P. 23(b)(2) because

Genesis Global Capital acted or refused to act on grounds generally applicable to the Classes and

Subclasses, so that final injunctive relief or corresponding declaratory relief is appropriate as to

the Class and Subclasses as a whole.

       214.    Plaintiffs reserve the right to revise the foregoing class allegations and definitions

based on facts learned and legal developments following additional investigation, discovery, or

otherwise.




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                                 DISCOVERY RULE TOLLING

       215.    Plaintiffs and the proposed Class had no way of discovering the true nature of

Genesis Global Capital’s financial conditions, and the commensurate breach of the Master

Agreement, until November 16, 2022, and only discovered these facts after November 16, 2022.

                        FRAUDULENT CONCEALMENT TOLLING

       216.    All applicable statutes of limitation have also been tolled by Genesis Global

Capital’s knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the period relevant to this action. As a result, Plaintiffs and members of the Class

could not have, and indeed did not, discover the true nature of Genesis Global Capital’s conduct

until November 16, 2022.

                                     CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
   CONTROL PERSON LIABILITY FOR VIOLATIONS OF THE SECURITIES ACT
    SECTION 5, SECTION 12(a)(1) AND SECTION 15 OF THE SECURITIES ACT
                       (Against DCG and Barry Silbert)
                 (On Behalf of All Plaintiffs and Class Members)

       217.    Plaintiffs reallege the allegations above.

       218.    This claim is asserted against DCG and Barry Silbert pursuant to Section 15 of the

Securities Act, 15 U.S.C. § 77o.

       219.    Section 15 of the Securities Act provides: “Every person who, by or through stock

ownership, agency, or otherwise, or who, pursuant to or in connection with an agreement or

understanding with one or more other persons by or through stock ownership, agency, or

otherwise, controls any person liable under sections 77k or 77l of this title, shall also be liable

jointly and severally with and to the same extent as such controlled person to any person to

whom such controlled person is liable, unless the controlling person had no knowledge of or


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reasonable ground to believe in the existence of the facts by reason of which the liability of the

controlled person is alleged to exist.” Id. § 77o(a).

       220.    Section 5(a) of the Securities Act states: “Unless a registration statement is in

effect as to a security, it shall be unlawful for any person, directly or indirectly (1) to make use of

any means or instruments of transportation or communication in interstate commerce or of the

mails to sell such security through the use or medium of any prospectus or otherwise; or (2) to

carry or cause to be carried through the mails or in interstate commerce, by any means or

instruments of transportation, any such security for the purpose of sale or for delivery after sale.”

15 U.S.C. § 77e(a).

       221.    Section 5(c) of the Securities Act states: “It shall be unlawful for any person,

directly or indirectly, to make use of any means or instruments of transportation or

communication in interstate commerce or of the mails to offer to sell or offer to buy through the

use or medium of any prospectus or otherwise any security, unless a registration statement has

been filed as to such security, or while the registration statement is the subject of a refusal order

or stop order or (prior to the effective date of the registration statement) any public proceeding or

examination under section 77h of this title.” Id. § 77e(c).

       222.    As alleged herein, Genesis Global Capital violated Sections 5 of the Securities

Act by selling securities without registering the securities offering or qualifying for an exemption

from registration.

       223.    At the time of the violations of Sections 5 of the Securities Act by Genesis Global

Capital alleged herein, DCG controlled Genesis Global Capital. DCG, by virtue of its stock

ownership, agency, agreements or understandings, specific acts, and otherwise, had the power

and authority to direct the management and activities of Genesis Global Capital and its



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employees, and to cause Genesis Global Capital to engage in the wrongful conduct complained

of herein. DCG at the time of the wrongs alleged herein, had the power to direct or cause the

direction of the management and policies of Genesis Global Capital.

        224.    DCG purposefully exercised its power and influence to cause Genesis Global

Capital to violate the Securities Act as described herein, including by promoting, soliciting,

offering, and selling unregistered securities to Plaintiffs and members of the Classes in violation

of sections 5(a), 5(c), and 12(a)(1) of the Securities Act, id. §§ 77e(a), 77e(c), and 77l(a)(1).

        225.    Genesis Global Capital is liable for its violations of Section 5 of the Securities Act

under section 12(a)(1) of the Securities Act, id. § 77l(a)(1).

        226.    DCG had sufficient influence to cause Genesis Global Capital to refrain from

promoting, soliciting, offering, and selling unregistered securities in violation of the Securities

Act. DCG purposefully decided not to do so.

        227.    DCG knowingly and culpably participated in, and/or aided and abetted, Genesis

Global Capital’s violations of the Securities Act alleged herein. DCG had knowledge of or

reasonable ground to believe in the existence of the facts alleged herein, which form the basis for

Genesis Global Capital’s liability under section 12(a)(1) of the Securities Act.

        228.    Accordingly, pursuant to Section 15 of the Securities Act, DCG is jointly and

severally liable for the violations of the Securities Act by Genesis Global Capital complained of

herein and is liable to Plaintiffs and the Class for damages relating to the Lending Agreements.

See id. § 77l(a)(1).

        229.    As CEO and founder of both DCG and Genesis Global Capital, and controlling

shareholder owning 40% of the equity of DCG (which in turn owned 100% of Genesis Global

Capital), Barry Silbert had the power and authority to direct the management and activities of



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Genesis Global Capital and its employees and to cause Genesis Global Capital to engage in the

wrongful conduct complained of herein. Silbert, at the time of the wrongs alleged herein, had the

power to direct or cause the direction of the management and policies of Genesis Global Capital.

        230.       Silbert purposefully exercised his power and influence to cause Genesis Global

Capital to violate the Securities Act as described herein, including by directing Genesis Global

Capital not to register as an exchange or broker-dealer prior to offering and selling securities to

Plaintiffs and members of the Classes in violation of sections 5(a), 5(c), and 12(a)(1) of the

Securities Act, id. §§ 77e(a), 77e(c), and 77l(a)(1).

        231.       Genesis Global Capital is liable for its violations of Section 5 of the Securities Act

under section 12(a)(1) of the Securities Act, id. § 77l(a)(1).

        232.       At the time of the violations of Section 5 of the Securities Act by Genesis Global

Capital alleged herein, Silbert had sufficient influence to cause Genesis Global Capital to refrain

from promoting, soliciting, offering, and selling unregistered securities in violation of the

Securities Act. Silbert purposefully decided not to do so.

        233.       Silbert knowingly and culpably participated in, and/or aided and abetted, Genesis

Global Capital’s violations of the Securities Act alleged herein. Silbert had knowledge of or

reasonable ground to believe in the existence of the facts alleged herein, which form the basis for

Genesis Global Capital’s liability under Section 12(a)(1) of the Securities Act.

        234.       Accordingly, pursuant to Section 15 of the Securities Act, Silbert is jointly and

severally liable for the violations of the Securities Act by Genesis Global Capital complained of

herein and is liable to Plaintiffs and the Classes for damages as to each Lending Agreement. See

id. § 77l(a)(1).




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                                SECOND CLAIM FOR RELIEF

   CONTROL PERSON LIABILITY FOR VIOLATIONS OF THE EXCHANGE ACT
             SECTION 10(b) AND 20(a) OF THE EXHANGE ACT
                     (Against DCG and Barry Silbert)
               (On Behalf of All Plaintiffs and Class Members)

       235.    Plaintiffs reallege the allegations above.

       236.    This claim is asserted against DCG and Barry Silbert pursuant to Section 20 of the

Exchange Act, 15 U.S.C. § 78t(a).

       237.    Section 20(a) of the Exchange Act provides: “Every person who, directly or

indirectly, controls any person liable under any provision of [the Exchange Act] or of any rule or

regulation thereunder shall also be liable jointly and severally with and to the same extent as

such controlled person to any person to whom such controlled person is liable … unless the

controlling person acted in good faith and did not directly or indirectly induce the act or acts

constituting the violation or cause of action.” 15 U.S.C. § 78t(a).

       238.    Section 10(b) of the Exchange Act Section 10(b) declares it unlawful for any

person to “use or employ, in connection with the purchase or sale of any security” a

“manipulative or deceptive device or contrivance in contravention of such rules and regulations

as the [SEC] may prescribe.” 15 U.S.C. § 78j(b).

       239.    SEC Rule 10b-5 promulgated pursuant to Section 10(b) of the Exchange Act

makes it unlawful for “any person, directly or indirectly, by the use of any means or

instrumentality of interstate commerce, or of the mails or of any facility of any national securities

exchange . . . [t]o employ any device, scheme, or artifice to defraud . . . [t]o make any untrue

statement of a material fact or to omit to state a material fact necessary in order to make the

statements made, in the light of the circumstances under which they were made, not misleading,

or . . . [t]o engage in any act, practice, or course of business which operates or would operate as a


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fraud or deceit upon any person, in connection with the purchase or sale of any security. 17 CFR

§ 240.10b-5.

       240.    Genesis Global Capital, by the use by use of the instrumentalities of interstate

commerce, intentionally and/or recklessly: employed a device, scheme, or artifice to defraud

Plaintiffs and members of the Classes and their agents into making loans of digital assets or

rolling over existing loans of digital assets to Genesis Global Capital; made untrue statements of

material fact and omitted to state material facts necessary in order to make the statements made

not misleading and/or engaged in acts, practices, or courses of business which operated as a

fraud and deceit upon Plaintiffs and members of the Classes in connection with Plaintiff’s and

the Classes’ lending transactions made pursuant to the Lending Agreements, which constitute

securities pursuant to 15 U.S.C.§ 77b(a)(1), in violation of Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

       241.    Genesis Global Capital engaged in fraudulent and deceitful acts or practices by

knowingly and intentionally, or recklessly, making materially false representations, including,

but not limited to, its representations in documents circulated to all Genesis Global Capital

lenders and their agents describing Genesis Global Capital’s financial conditions, including its

solvency. In fact, Genesis Global Capital knew or recklessly disregarded at the time of the

statements and representations that it was insolvent, and that its financial condition was other

than what was being represented to Plaintiffs and members of the Classes.

       242.    Genesis Global Capital made these material misrepresentations or omitted to

disclose the material facts with the intention of deceiving the investing public, including

Plaintiffs and members of the Classes and their agents, and inducing Plaintiffs and members of




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the Classes to continue to loan digital assets to Genesis Global Capital and/or not redeem their

existing loans of digital assets to Genesis Global Capital.

       243.    Not only did Genesis Global Capital knowingly withhold key information and

thereby engage in conscious misbehavior, it had the motive to do so, because it resulted in higher

compensation for Genesis Global Capital, DCG, and Barry Silbert.

       244.    Genesis Global Capital also had the motive to keep its real financial condition

secret, because Genesis Global Capital knew that its insolvency would likely result in mass

investor redemptions and the end of its business.

       245.    Genesis Global Capital had actual knowledge of the materially false and

misleading statements and material omissions alleged herein and intended thereby to deceive

Plaintiffs and the other members of the Classes, or, in the alternative, Genesis Global Capital

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Genesis Global Capital. Genesis Global Capital’s

acts and omissions were committed willfully or with reckless disregard for the truth. In addition,

Genesis Global Capital knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.

       246.    As a result of the aforementioned misrepresentations and/or omissions, Plaintiffs

and the other members of the Classes executed additional digital asset loan transactions or rolled

over existing digital asset loans already made to Genesis Global Capital and were damaged

thereby.




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       247.    Had Plaintiffs and members of the Classes known the truth, they would not have

executed additional digital asset loan transactions or rolled over existing digital asset loans

already made to Genesis Global Capital.

       248.    By reason of the conduct alleged herein, Genesis Global Capital knowingly or

recklessly, directly or indirectly, violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

       249.    As a direct and proximate result of Genesis Global Capital’s material

misrepresentations and omissions, Plaintiffs and members of the Classes have suffered damages

in connection with their loan transactions with Genesis Global Capital in an amount to be

determined at trial.

       250.    At the time of the violations of Section 10(b) of the Exchange Act and Rule 10b-5

alleged herein, DCG controlled Genesis Global Capital. DCG, by virtue of its stock ownership,

agency, agreements or understandings, specific acts, and otherwise, had the power and authority

to direct the management and activities of Genesis Global Capital and its employees, and to

cause Genesis Global Capital to engage in the wrongful conduct complained of herein. DCG, at

the time of the wrongs alleged herein, had the power to direct or cause the direction of the

management and policies of Genesis Global Capital.

       251.    DCG purposefully exercised its power and influence to cause Genesis Global

Capital to violate Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder as

described herein, including by making material misstatements and/or omissions regarding the

financial health of Genesis Global Capital.




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       252.    At the time of the violations of Section 10(b) of the Exchange Act and Rule 10b-5

alleged herein, DCG had sufficient influence to cause Genesis Global Capital to comply with the

Exchange Act and/or to refrain from acts that are prohibited by the Exchange Act.

       253.    DCG knowingly and culpably participated in, and/or aided and abetted, Genesis

Global Capital’s violations of the Exchange Act alleged herein.

       254.    Accordingly, DCG is jointly and severally liable for the violations of the

Exchange Act by Genesis Global Capital complained of herein and is liable to Plaintiffs and the

Class for rescission and/or damages as to all transactions in which Plaintiffs and Class members

relied on statement made by Genesis Global Capital in connection with the purchase or sale of

securities pursuant to Section 20(a) of the Exchange Act.

       255.    At the time of the violations of Section 10(b) of the Exchange Act and Rule 10b-5

alleged herein, Silbert had the power and authority to direct the management and activities of

Genesis Global Capital and its employees and to cause Genesis Global Capital to engage in the

wrongful conduct complained of herein due to his status as founder and CEO of both DCG and

Genesis Global Capital and controlling shareholder of DCG.

       256.    Silbert, at the time of the wrongs alleged herein, had the power to direct or cause

the direction of the management and policies of DCG and Genesis Global Capital.

       257.    Silbert purposefully exercised his power and influence to cause Genesis Global

Capital to violate Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder as

described herein, including by making material misstatements and/or omissions regarding the

financial health of Genesis Global Capital.




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       258.    At the time of the wrongs alleged herein, Silbert had sufficient influence to cause

Genesis Global to comply with the Exchange Act and/or to refrain from acts that are prohibited

by the Exchange Act. Silbert purposefully decided not to do so.

       259.    Silbert knowingly and culpably participated in, and/or aided and abetted, Genesis

Global Capital’s violations of the Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder alleged herein.

       260.    Accordingly, Silbert is jointly and severally liable for the violations of Section

10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder by Genesis Global Capital

complained of herein and is liable to Plaintiffs and the Class for rescission and/or damages as to

all transactions in which Plaintiffs and Class members relied on statement made by Genesis

Global Capital in connection with the purchase or sale of securities pursuant to Section 20(a) of

the Exchange Act.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes respectfully

requests relief as follows:

       A.      An order certifying this dispute and the Classes requested herein as a class action,

               designating Plaintiffs as the representatives of the Classes, and appointing

               Plaintiffs’ counsel as counsel to the Classes;

       B.      A judgment awarding Plaintiffs and the Classes appropriate damages based on the

               claims for relief outlined herein;

       C.      A judgment awarding equitable, injunctive, and/or declaratory relief as may be

               appropriate;




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      D.     A judgment awarding Plaintiffs and the Classes prejudgment and post-judgment

             interest, as permitted by law;

      E.     A judgment awarding Plaintiffs and the Classes costs and fees, including

             attorneys’ fees and costs as permitted by law; and

      F.     Granting such other legal, equitable or further relief as the Court may deem just

             and proper.



Dated: January 23, 2023                            Respectfully submitted,


                                                   SILVER GOLUB & TEITELL LLP

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